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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,                   )
                                            )
                         Plaintiff,         )                       CRIMINAL ACTION
                                            )
v.                                          )                       No. 12-20066-44-KHV
                                            )
VICTOR A. HERNANDEZ-DELGADO,                )
                                            )
                         Defendant.         )
____________________________________________)

                                MEMORANDUM AND ORDER

       On November 26, 2013, the Court sentenced defendant to 180 months in prison based solely

on a binding plea agreement under Rule 11(c)(1)(C), Fed. R. Crim. P. See Judgment In A Criminal

Case (Doc. #1126); Plea Agreement Pursuant To Fed. R. Crim. P. 11(c)(1)(C) (Doc. #666) filed

May 28, 2013. Defendant appealed. The Tenth Circuit dismissed defendant’s appeal based on his

waiver of the right to appeal or collaterally attack his conviction and sentence. This matter is before

the Court on defendant’s Motion For Reduction Of Sentence Pursuant To Retroactive

Amendment 794 (Doc. #1979) and defendant’s Motion For Reduction Of Sentence Pursuant To

Retroactive Amendment 782 (Doc. #1980), both filed October 14, 2016. In both motions, defendant

seeks relief under 18 U.S.C. § 3582(c)(2). Because the plea agreement calls for a specific sentence

and does not use or employ a guideline sentencing range, the Court dismisses defendant’s motions

for relief under Section 3582(c)(2).1 United States v. Graham, 704 F.3d 1275, 1278 (10th Cir. 2013).


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              In addition, as to defendant’s motion for relief under Amendment 794, defendant
cannot obtain relief because a reduced sentence is not consistent with the applicable policy
statements issued by the United States Sentencing Commission. 18 U.S.C. § 3582(c)(2).
Amendment 794 provides additional guidance to district courts in determining when a mitigating
role adjustment applies under Section 3B1.2 of the Guidelines. See Amendment 794, Supp. to
App. C (Nov. 1, 2015). Unless and until the Sentencing Commission specifically designates the
                                                                                (continued...)
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       IT IS THEREFORE ORDERED that defendant’s Motion For Reduction Of Sentence

Pursuant To Retroactive Amendment 794 (Doc. #1979) filed October 14, 2016 and defendant’s

Motion For Reduction Of Sentence Pursuant To Retroactive Amendment 782 (Doc. #1980) filed

October 14, 2016 are DISMISSED.

       Dated this 25th day of October, 2016 at Kansas City, Kansas.


                                            s/ Kathryn H. Vratil
                                            KATHRYN H. VRATIL
                                            United States District Judge




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         (...continued)
amendment for retroactive application, the Court has no authority to apply the amendment to
defendant’s case under Section 3582(c)(2). See 18 U.S.C. § 3582(c)(2) (court may reduce sentence
where consistent with policy statements of Commission); U.S.S.G. § 1B1.10 (if amendment not
listed in subsection 1B1.10(c), reduction not consistent with policy statement). While certain
“clarifying” amendments may be applied retroactively in determining whether the district court
correctly sentenced defendant under the Guidelines, defendant must seek relief based on such
amendments as a challenge to his sentence on direct appeal or in a motion under Section 2255.
United States v. Torres-Aquino, 334 F.3d 939, 941 (10th Cir. 2003). The Court lacks authority to
modify a sentence under Section 3582(c)(2) based on a “clarifying” amendment to the Guidelines
which the Sentencing Commission has not designated as retroactive. See id.

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